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                                                             8                        UNITED STATES DISTRICT COURT
                                                             9                      CENTRAL DISTRICT OF CALIFORNIA
                                                            10
                                                            11   STANDWITHUS CENTER FOR                     Case No.:
                                                                 LEGAL JUSTICE,
                                                            12                                              COMPLAINT FOR:
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                                                                             Plaintiff,
                                                            13                                              1) Threatening and Intimidating
                                                                                                            Persons in Violation of 18 U.S.C.
                                                            14    v.                                        § 248(a)(2)
                                                                                                            2) Threatening and Intimidating
                                                            15 CODEPINK, PALESTINIAN                        Persons in Violation of Cal. Pen.
                                                               YOUTH MOVEMENT, and WESPAC                   Code § 423.2
                                                            16 FOUNDATION,                                  3) Threatening and Intimidating
                                                                                                            Persons in Violation of 18 U.S.C.
                                                            17               Defendants.                    § 248(a)(2)
                                                                                                            4) Threatening and Intimidating
                                                            18                                              Persons in Violation of 18 U.S.C.
                                                                                                            § 248(a)(2)
                                                            19
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                                                             1         Plaintiff StandWithUs Center for Legal Justice (“Plaintiff” or “SCLJ”)
                                                             2
                                                                 alleges as follows:
                                                             3
                                                             4                                  INTRODUCTION

                                                             5         1.     Bear-sprayed worshippers. Jews assaulted, intimidated, and
                                                             6
                                                                 threatened. Bloodied members of the Jewish community whose only
                                                             7
                                                             8 transgressions were to attend synagogue. The images that emerged from the
                                                             9 antisemitic riot outside Adas Torah synagogue (“Adas Torah”) on June 23, 2024,
                                                            10
                                                                 are outrageous.
                                                            11
                                                            12         2.     Deplorably, those images also are no longer surprising.
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                                                            13         3.     Indeed, they are emblematic of an increasingly common occurrence:
                                                            14
                                                                 organized riots that violently target the American Jewish community.
                                                            15
                                                            16         4.     On June 23, individuals organized by Defendants Code Pink,
                                                            17 Palestinian Youth Movement, and WESPAC Foundation (collectively,
                                                            18
                                                                 “Defendant Organizations”) terrorized Jewish congregants outside their house of
                                                            19
                                                            20 worship, blocking access to those seeking religious services and trapping others
                                                            21 inside.
                                                            22
                                                                       5.     Outside, Jewish worshippers were bear-sprayed, assaulted,
                                                            23
                                                            24 intimidated, and threatened.
                                                            25         6.     This violence forcibly halted multiple daily minyanim (prayer
                                                            26
                                                                 services) and Torah study sessions.
                                                            27
                                                            28         7.     Defendant Organizations’ violent riot also prevented congregants
                                                                                                         3
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                                                             1 from attending an event that, as elaborated on below, not only involved prayer but
                                                             2
                                                                 also sought to educate Jewish congregants about housing opportunities in Israel
                                                             3
                                                             4 that would fulfill the religious commandment to “make Aliyah,” or immigrate to
                                                             5 Israel.
                                                             6
                                                                         8.        The event is referred to henceforth as the Aliyah Event.1
                                                             7
                                                             8           9.        Appreciating the repugnance inherent in forcibly preventing the

                                                             9 faithful from worship, Congress created a statutory mechanism to punish those
                                                            10
                                                                 who would inflict this harm and to enjoin them from ever doing it again.
                                                            11
                                                            12           10.       Specifically, the federal FACE Act, 18 U.S.C. § 248, ensures that
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                                                            13 worshippers may practice their respective religions free from persecution,
                                                            14
                                                                 interference, and intimidation.
                                                            15
                                                            16
                                                            17
                                                                         1
                                                                             Aliyah comes from the Hebrew word for “rise” or “ascent”:
                                                            18
                                                                                  The term Aliyah, going up to Israel, is used in Genesis in reference
                                                            19                    to our forefather Jacob’s bones being brought from Egypt to what
                                                                                  would be the Land of Israel: “And Joseph returned to Egypt, he and
                                                            20                    his brothers, and all who had gone up with him to bury his father,
                                                                                  after he had buried his father.” Genesis 50:14. The Talmudic sages
                                                            21                    state that the Land of Israel is higher than all other lands. (Talmud
                                                                                  Bavli, Kiddushin, 69a) This is not meant in a topographical sense,
                                                            22                    for clearly this is not the case. Rather, it means that the Holy Land
                                                                                  is the most suitable place to relate and connect to the Almighty, and
                                                            23                    the primary location to lovingly engage in the observance of G‑d’s
                                                                                  commandments. In other words, to go there is to be elevated, to go
                                                            24                    up to a higher level.

                                                            25 What is “Aliyah”?, CHABAD.ORG,
                                                                 chabad.org/library/article_cdo/aid/1584066/jewish/What-Is-Aliyah.htm (last
                                                            26   visited July 21, 2024); see also Mitzvah to Live in Israel, AISH,
                                                                 https://aish.com/mitzvah-to-live-in-
                                                            27   israel/#:~:text=The%20mitzvah%20to%20live%20in,Come%22%20(Ketuvot%20
                                                                 111a) (last visited July 21, 2024). As described below, ‘making Aliyah’, and even
                                                            28   preparing to make Aliyah, is considered by many Jewish people to be a
                                                                 fulfillment of one of the most important religious commandments in the Torah.
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                                                             1         11.    California has enacted a materially identical statute. See Cal. Pen.
                                                             2
                                                                 Code § 423.2.
                                                             3
                                                             4         12.    Having violated both, Defendant Organizations are liable for

                                                             5 statutory damages and should be subject to appropriate injunctive relief to prevent
                                                             6
                                                                 them from ever violating the federal or California FACE Acts again.
                                                             7
                                                             8                             JURISDICTION AND VENUE

                                                             9         13.    This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343, which
                                                            10
                                                                 confer original jurisdiction on federal district courts to hear suits alleging the
                                                            11
                                                            12 violation of rights and privileges under acts of Congress.
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                                                            13         14.    This action, based on a violation of SCLJ’s rights under the FACE
                                                            14
                                                                 Act, is brought under 18 U.S.C. § 248(c)(1)(A), which provides that “[a]ny person
                                                            15
                                                            16 aggrieved by reason of the conduct prohibited by subsection (a) may commence a
                                                            17 civil action.”
                                                            18
                                                                       15.    This Court has supplemental jurisdiction over SCLJ’s California
                                                            19
                                                            20 FACE Act claims because these state-law claim are “so related to [the] claims in
                                                            21 [this] action within” the Court’s “original jurisdiction that [it] form[s] part of the
                                                            22
                                                                 same case or controversy.” 28 U.S.C. § 1367.
                                                            23
                                                            24         16.    Venue is proper in this district under 28 U.S.C. § 1391(b), because a
                                                            25 substantial part of the events giving rise to SCLJ’s claims occurred in the Pico-
                                                            26
                                                                 Robertson neighborhood of Los Angeles, California, which is in this District.
                                                            27
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                                                             1                                         PARTIES
                                                             2
                                                                          17.   SCLJ is a tax-exempt membership organization organized under the
                                                             3
                                                             4 laws of California.
                                                             5            18.   SCLJ's membership is composed of individuals from a host of
                                                             6
                                                                 different communities across the country, including Jewish and/or Israeli
                                                             7
                                                             8 individuals who share SCLJ’s dedication to combating antisemitism through legal
                                                             9 action.
                                                            10
                                                                          19.   SCLJ includes congregants from Adas Torah and members of the Los
                                                            11
                                                            12 Angeles Jewish community who registered to go to Adas Torah on June 23, 2024,
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                                                            13 for organized Jewish activities, and/or who regularly attend religious services
                                                            14
                                                                 there.
                                                            15
                                                            16            20.   SCLJ Member #1 is a Jewish resident of Los Angeles who sought to
                                                            17 attend the Aliyah Event at the time of the riot.
                                                            18
                                                                          21.   SCLJ Member #2 is a Jewish resident of Los Angeles who sought to
                                                            19
                                                            20 attend the Aliyah Event, as well as a religious service, at the time of the riot.
                                                            21            22.   SCLJ Member #3 is a Jewish resident of Los Angeles who sought to
                                                            22
                                                                 attend the Aliyah Event, as well as a religious service, at the time of the riot.
                                                            23
                                                            24            23.   SCLJ Member #4 is a Jewish resident of Los Angeles who sought to
                                                            25 attend the Aliyah Event, as well as a religious service, at the time of the riot.
                                                            26
                                                                          24.   SCLJ Member #5 is a Jewish resident of Los Angeles who sought to
                                                            27
                                                            28 attend the Aliyah Event, as well as a religious service, at the time of the riot.
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                                                             1         25.   SCLJ Member #6 is a Jewish resident of Los Angeles, as well as a
                                                             2
                                                                 member of Adas Torah, who was studying Torah at the synagogue at the time of
                                                             3
                                                             4 the riot.
                                                             5         26.   SCLJ Member #7 is a Jewish resident of Los Angeles, as well as a
                                                             6
                                                                 member of Adas Torah, who sought to attend the afternoon prayer services at the
                                                             7
                                                             8 time of the riot.
                                                             9         27.   During the riot, SCLJ members sought “to exercise the First
                                                            10
                                                                 Amendment right of religious freedom at a place of religious worship,” namely
                                                            11
                                                            12 Adas Torah, but were forcefully prevented from doing so.
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                                                            13         28.   Specifically, on June 23, 2024, at approximately 1:30 p.m. local time,
                                                            14
                                                                 over two-hundred rioters, organized by Defendant Organizations and joined by
                                                            15
                                                            16 their members, blocked SCLJ members’ access to Adas Torah, where a series of
                                                            17 religious services and study sessions were taking place, along with the Aliyah
                                                            18
                                                                 Event.
                                                            19
                                                            20         29.   Defendant CodePink (“CodePink”) is a non-profit entity with Section
                                                            21 501(c)(3) tax-exempt status in the United States.
                                                            22
                                                                       30.   CodePink describes itself as a “feminist grassroots organization
                                                            23
                                                            24 working to end U.S. warfare and imperialism, support peace and human rights
                                                            25 initiatives, and redirect resources into healthcare, education, green jobs and other
                                                            26
                                                            27
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                                                             1 life-affirming[] programs.”2
                                                             2
                                                                        31.      Contrary to that description, CodePink has long supported terrorists
                                                             3
                                                             4 and terrorist entities, including Iran, the largest state-sponsor of terror; Ansar Allah
                                                             5 (also known as the “Houthis”),3 which was previously designated a Foreign
                                                             6
                                                                 Terrorist Organization; and Hamas.4
                                                             7
                                                             8          32.      Each of these terrorist entities has called for the annihilation of the

                                                             9 Jewish people.
                                                            10
                                                                        33.      Members of CodePink have attended a conference in Iran with
                                                            11
                                                            12 Holocaust deniers, and they have met with Hamas officials “several times.”
                                                                                                                                          5
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                                                            13          34.      Defendant WESPAC Foundation (“WESPAC”) is a Section 501(c)(3)
                                                            14
                                                                 organization with its principal place of business in White Plains, New York.
                                                            15
                                                            16          35.      WESPAC is the fiscal sponsor of Defendant Palestinian Youth
                                                            17 Movement (“PYM”).6
                                                            18
                                                            19
                                                                        2
                                                                            What is CODEPINK?, CODEPINK, https://www.codepink.org/about (last visited July
                                                            20 12, 2024).
                                                                        3
                                                                            Haley Strac, Another Defense of Terrorism from Code Pink, NAT’L REVIEW (Jan. 16,
                                                            21 2024), https://www.nationalreview.com/corner/another-defense-of-terrorism-from-code-pink/.
                                                                        4
                                                            22             CODEPINK Staff, CODEPINK Women Travel To Gaza TODAY To Witness Damage
                                                                 And Demand A Lifting Of The Blockade; Plan To Meet With Women's Groups, Hamas Officials,
                                                            23   CODEPINK (Jan. 29, 2009)
                                                                 https://www.codepink.org/official_release_codepink_women_travel_to_gaza_today_to_witness
                                                            24   _damage_and_demand_a_lifting_of_the_blockade_plan_to_meet_with_women_s_groups_ham
                                                                 as_officials.
                                                            25           5
                                                                           James Reinl, Hard-Left Activists Code Pink’s History Of Israel-Bashing Revealed:
                                                                 Anti-War Feminist Group That’s Under Congressional Scrutiny Over Ties To Chinese
                                                            26   Communist Party Has A Record Of Links To Iran, Hamas And ‘Antisemitism’, DAILY MAIL
                                                                 (Dec. 23, 2023, 7:11 AM), https://www.dailymail.co.uk/news/article-12797043/Codepink-
                                                            27   antisemitic-left-war-congress-Iran-Hamas-Israel.html.
                                                                         6
                                                            28             Palestinian Youth Movement Profile, NGO MONITOR (June 2, 2024), https://www.ngo-
                                                                 monitor.org/ngos/palestinian-youth-
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                                                             1          36.    PYM is an unincorporated association without a formal principal
                                                             2
                                                                 place of business or publicly identified leadership structure.
                                                             3
                                                             4          37.    PYM regularly justifies terror attacks against Jewish persons and has

                                                             5 expressed public support for members of U.S.-designated Foreign Terrorist
                                                             6
                                                                 Organizations.
                                                             7
                                                             8          38.    PYM’s latest campaign of terrorizing Jewish people outside Adas

                                                             9 Torah mirrors its previous activities.
                                                            10
                                                                        39.    For instance, PYM recently helped organize a conference, titled the
                                                            11
                                                            12 People’s Conference for Palestine (the “Conference”), which involved multiple
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                                                            13 speakers who are affiliated with Foreign Terrorist Organizations.
                                                            14
                                                                        40.    One such speaker was Sana Daqqah, the Conference’s keynote
                                                            15
                                                            16 speaker and wife of Walid Daqqah, a Popular Front for the Liberation of Palestine
                                                            17 terrorist convicted of the kidnapping, torture, and murder of Israeli Moshe
                                                            18
                                                                 Tamam.7
                                                            19
                                                            20          41.    One PYM organizer at the Conference, Sarah Abdelshamy, celebrated
                                                            21 the terror attacks of October 7, 2023, while speaking on a panel: “In the past eight
                                                            22
                                                                 months, we’ve seen incredible images of victory—from witnessing the families of
                                                            23
                                                            24 political prisoners reunite with, and embrace their loved ones for the first time in
                                                            25
                                                            26
                                                                 movement/#:~:text=WESPAC%20Foundation%20serves%20as%20the,amounts%20disbursed
                                                            27   %20for%20PYM%20activities.
                                                                        7
                                                                          Michael Starr, Rashida Tlaib attends conference honoring terrorists, hosting terrorist
                                                            28   speaker, JERUSALEM POST (May 26, 2024), https://www.jpost.com/international/article-803703.
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                                                              1 years—to scenes of our heroic people breaking down the siege that has suffocated
                                                              2
                                                                  the Gaza Strip for 17 years.”8
                                                              3
                                                              4          42.    PYM often collaborates with the organization National Students for

                                                              5 Justice in Palestine (“NSJP”)—another of WESPAC’s fiscal sponsorships—that is
                                                              6
                                                                  now being sued in the wake of the October 7 attacks in the U.S. District Court for
                                                              7
                                                              8 the Eastern District of Virginia for providing material support to Hamas and other
                                                              9 Foreign Terrorist Organizations.9
                                                             10
                                                                         43.    Upon information and belief, members of PYM were among those
                                                             11
                                                             12 who blocked access to Adas Torah on June 23, 2024.
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                                                             13          44.    PYM operates as a fiscal sponsorship of WESPAC, meaning
                                                             14
                                                                  WESPAC collects and disburses donations on PYM’s behalf because PYM lacks
                                                             15
                                                             16 tax-exempt status.
                                                                                  10


                                                             17          45.    The IRS requires fiscal sponsors to retain “control and discretion as to
                                                             18
                                                                  the use of the funds and maintain[] records establishing that the funds were used
                                                             19
                                                             20 for section 501(c)(3) purposes.”
                                                                                                11


                                                             21
                                                             22
                                                             23          8
                                                                            Id.
                                                                         9
                                                             24             See Complaint for Damages and Jury Trial Demand, Parizer v. AJP Educational
                                                                  Foundation Inc., No. 1:24cv724 (E.D. Va.).
                                                             25           10
                                                                             Palestinian Youth Movement Profile, NGO MONITOR (June 2, 2024),
                                                                  https://www.ngo-monitor.org/ngos/palestinian-youth-
                                                             26   movement/#:~:text=WESPAC%20Foundation%20serves%20as%20the,amounts%20disbursed
                                                                  %20for%20PYM%20activities.
                                                             27
                                                                  11
                                                                     1968 IRB LEXIS 179, *1 (I.R.S. July 1, 1968); see also National Foundation v. United States,
                                                             28   13 Cl. Ct. 486, 87-2 USTC para. 9602 (1987).
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                                                              1         46.    Thus, as the fiscal sponsor of PYM, WESPAC is responsible for how
                                                              2
                                                                  PYM uses its funds.
                                                              3
                                                              4         47.    Consequently, WESPAC is responsible for the promotion and

                                                              5 funding that resulted in the violent riot that blocked the entrance to Adas Torah.
                                                              6
                                                                                                 LEGAL STANDARD
                                                              7
                                                              8         48.    The FACE Act imposes civil and criminal penalties on any person

                                                              9 who “by force or threat of force or by physical obstruction, intentionally injures,
                                                             10
                                                                  intimidates or interferes with or attempts to injure, intimidate or interfere with any
                                                             11
                                                             12 person lawfully exercising or seeking to exercise the First Amendment right of
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                                                             13 religious freedom at a place of religious worship.” 18 U.S.C. § 248(a)(2).
                                                             14
                                                                        49.    The FACE Act also imposes civil and criminal penalties on any person
                                                             15
                                                             16 who “intentionally damages or destroys the property of a place of religious
                                                             17 worship.” Id. § 248(a)(3).
                                                             18
                                                                        50.    The FACE Act creates a private right of action: “Any person
                                                             19
                                                             20 aggrieved by reason of the conduct prohibited by subsection (a) may commence a
                                                             21 civil action for the relief set forth in subparagraph (B).” Id. § 248(c)(1)(A).
                                                             22
                                                                        51.    The FACE Act authorizes courts to “award appropriate relief,
                                                             23
                                                             24 including temporary, preliminary or permanent injunctive relief and compensatory
                                                             25 and punitive damages, as well as the costs of suit and reasonable fees for attorneys
                                                             26
                                                                  and expert witnesses.” Id. § 248(c)(1)(B).
                                                             27
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                                                              1         52.    “With respect to compensatory damages, the plaintiff may elect, at
                                                              2
                                                                  any time prior to the rendering of final judgment, to recover, in lieu of actual
                                                              3
                                                              4 damages, an award of statutory damages in the amount of $5,000 per violation.” Id.
                                                              5         53.    The California FACE Act, Cal. Pen. Code § 423.2, provides a similar
                                                              6
                                                                  cause of action: “Every person who . . . [b]y force, threat of force, or physical
                                                              7
                                                              8 obstruction that is a crime of violence, intentionally injures, intimidates, interferes
                                                              9 with, or attempts to injure, intimidate, or interfere with a person lawfully
                                                             10
                                                                  exercising or seeking to exercise the First Amendment right of religious freedom at
                                                             11
                                                             12 a place of religious worship,” violates the California FACE Act. Cal. Pen. Code
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                                                             13 § 423.2(b).
                                                             14
                                                                        54.    Finally, “[e]very person who . . . [i]ntentionally damages or destroys
                                                             15
                                                             16 the property of a place of religious worship,” violates the California FACE Act. Id.
                                                             17 § 423.2(f).
                                                             18
                                                                        55.    Section 423.4 of the California Penal Code provides that “[a] person
                                                             19
                                                             20 aggrieved by a violation of” the California FACE Act “may bring a civil action to
                                                             21 enjoin the violation, for compensatory and punitive damages, and for the costs of
                                                             22
                                                                  suit and reasonable fees for attorneys and expert witnesses,” so long as the plaintiff
                                                             23
                                                             24 is either a person “lawfully exercising or seeking to exercise the First Amendment
                                                             25 right of religious freedom in a place of religious worship, or the entity that owns or
                                                             26
                                                                  operates a place of religious worship.” Id. § 423.4(a).
                                                             27
                                                             28
                                                                                                           12
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                                                              1         56.     And “[w]ith respect to compensatory damages, the plaintiff may elect,
                                                              2
                                                                  at any time prior to the rendering of a final judgment, to recover, in lieu of actual
                                                              3
                                                              4 damages, an award of statutory damages in the amount of one thousand dollars
                                                              5 ($1,000) per exclusively nonviolent violation, and five thousand dollars ($5,000)
                                                              6
                                                                  per any other violation, for each violation committed.” Id.
                                                              7
                                                              8         57.     Actual damages may exceed the $1,000 or $5,000 statutory-damage

                                                              9 amounts contemplated by the federal and state FACE Acts.
                                                             10
                                                                                              STATEMENT OF FACTS
                                                             11
                                                             12         58.     On June 23, 2024, more than two-hundred rioters, organized by
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                                                             13 Defendant Organizations, marched into the predominantly orthodox Jewish
                                                             14
                                                                  neighborhood of Pico-Robertson in Los Angeles’s Westside and blocked access to
                                                             15
                                                             16 Adas Torah.
                                                             17         59.     Many of those rioters were armed with various weapons, including
                                                             18
                                                                  bear-spray.
                                                             19
                                                             20         60.     The rioters prevented worshippers (including members of SCLJ) from
                                                             21 attending regularly scheduled afternoon prayers at Adas Torah.
                                                             22
                                                                        61.     By stoking such unrest and engaging in physical violence, members of
                                                             23
                                                             24 Defendant Organizations made it impossible for members of Adas Torah to
                                                             25 practice their religion free from persecution, intimidation, and violence.
                                                             26
                                                                        62.     As discussed below, the riot Defendant Organizations planned
                                                             27
                                                             28 violated both the federal and state FACE Acts.
                                                                                                            13
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                                                              1                         Adas Torah’s Services on June 23, 2024.
                                                              2
                                                                         63.    In the days before June 23, 2024, a real estate company called My
                                                              3
                                                              4 Home in Israel, which specializes in assisting American Jews buy homes in Israel,
                                                              5 announced the Aliyah Event, which was to be held at Adas Torah.12
                                                              6
                                                                         64.    This event was scheduled for June 23, 2024.
                                                              7
                                                              8          65.    Although outsiders have characterized the Adas Torah event as a

                                                              9 “mere” housing or real estate event, it was anything but that.
                                                             10
                                                                         66.    For many in the Orthodox Jewish community, the event—and others
                                                             11
                                                             12 like it— which educate people about the realities of making Aliyah, represents a
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                                                             13 key aspect of an integral part of Jewish religious observance.
                                                             14
                                                                         67.    Many members of the Jewish community believe that their faith
                                                             15
                                                             16 includes a religious commandment (“mitzvah”) to buy land in their ancestral
                                                             17 homeland of Israel and to dwell there.13
                                                             18
                                                                         68.    In fact, the Sages of the Talmudic era were clear that the
                                                             19
                                                             20 commandment to settle the land, which specifically includes buying a home in
                                                             21 Israel (see, e.g., Babylonian Talmud Gittin 8b) “is equivalent to all of the other
                                                             22
                                                                  commandments in the Torah.” (Sifrei, Re’eh, 53).
                                                             23
                                                             24
                                                             25
                                                                         12
                                                             26              MY HOME IN ISRAEL, https://homeinisrael-il.com/ / (last visited July 24, 2024).
                                                                         13
                                                                             See, e.g., Babylonian Talmud, Ketubot 110b; Numbers 33:53; Deuteronomy 11:31.;
                                                             27   see also Mitzvah to Live in Israel, AISH, https://aish.com/mitzvah-to-live-in-
                                                                  israel/#:~:text=The%20mitzvah%20to%20live%20in,Come%22%20(Ketuvot%20111a) (last
                                                             28   visited July 12, 2024).
                                                                                                              14
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                                                              1          69.    Moving to Israel, thereby fulfilling this religious commandment, is
                                                              2
                                                                  known as “making Aliyah.”
                                                              3
                                                              4          70.    The preparations to make Aliyah (including educating oneself about

                                                              5 the options for doing so, and then buying a home) are also considered at least a
                                                              6
                                                                  partial fulfillment of the commandment.14
                                                              7
                                                              8          71.    The specific commandment to buy a home in Israel is so special that it

                                                              9 may even override certain other commandments.15
                                                             10
                                                                         72.    Indeed, this commandment merits its own discussions in the Talmudic
                                                             11
                                                             12 and rabbinic sources.
                                                                                     16
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                                                             13          73.    This is why events like the Aliyah Event are often held in synagogues
                                                             14
                                                                  and often include some form of prayer or Torah study—because it is generally
                                                             15
                                                             16 understood by the community for which such events are intended that these are not
                                                             17 just “real estate events” and are, in fact, manifestly religious in nature.
                                                             18
                                                                         74.    In other words, had Defendant Organizations’ mob allowed the Aliyah
                                                             19
                                                             20 Event to proceed, attendance by members of the community would have fulfilled
                                                             21 an important religious commandment for those seeking to learn more about or to
                                                             22
                                                                  fulfill the mitzvah of Aliyah.
                                                             23
                                                             24
                                                             25          14
                                                                             See Peninei Halakha, Shabbat 9:12 (citing Ramban (Nachmanides) on Babylonian
                                                                  Talmud Shabbat 130b); Rivash §387; see also Artzot Ha’Chaim, p. 2 (discussing how every
                                                             26   step on the way is a separate fulfillment of a commandment).
                                                                          15
                                                             27               See Babylonian Talmud, Bava Kamma 80b.
                                                                          16
                                                                             See, i.e., Babylonian Talmud, Gittin 8b, Shulchan Aruch (Code of Jewish Law), Orach
                                                             28   Chayim 306:11.
                                                                                                               15
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                                                              1         75.    For most attendees and potential attendees, attendance at this event, or
                                                              2
                                                                  any such Aliyah Event, would constitute a lawful exercise of their First
                                                              3
                                                              4 Amendment right of religious freedom.
                                                              5         76.    Simultaneously, on the day and time of the Aliyah Event, Adas Torah
                                                              6
                                                                  was also hosting multiple afternoon prayer services, or minyanim, as well as Torah
                                                              7
                                                              8 study sessions.
                                                              9         77.    These prayer services are held every day.
                                                             10
                                                                        78.    Around thirty to forty people, including members of SCLJ, regularly
                                                             11
                                                             12 attend the 1:30 pm minyanim.
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                                                             13      Defendant Organizations Call Rioters to Assemble Outside Adas Torah.
                                                             14
                                                                        79.    Upon learning of the Aliyah Event, Defendant Organizations called on
                                                             15
                                                             16 their members to assemble outside Adas Torah based on the lie that Adas Torah
                                                             17 was hosting an event that encouraged its congregants to “steal” Palestinian land.
                                                             18
                                                                        80.    Upon information and belief, these dishonest social media posts were
                                                             19
                                                             20 designed to generate the most possible outrage.
                                                             21         81.    For instance, on June 20, 2023, the People’s City Council–Los
                                                             22
                                                                  Angeles, a Los Angeles-based “[a]bolitionist, anti-capitalist & anti-imperialist
                                                             23
                                                             24 collective,” posted on X a statement reading: “OUR LAND IS NOT FOR SALE!
                                                             25 This Sunday, 6/23, a real estate event will be marketing homes in ‘anglo
                                                             26
                                                             27
                                                             28
                                                                                                           16
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                                                              1 neighborhoods’ in effort to further occupy Palestine[.] Racist settler expansionists
                                                              2
                                                                  arent [sic] welcome in LA! Join us @ 12 PM- 9040 W Pico Blvd.”17
                                                              3
                                                              4          82.     Other organizations, including Defendant Organizations, followed

                                                              5 suit.
                                                              6
                                                                         83.     On Friday, June 21, 2024, CodePink’s Los Angeles and Southeast Los
                                                              7
                                                              8 Angeles chapters issued a collaborative post on Instagram claiming that “A
                                                                                                            18


                                                              9 MEGA ZIONIST REAL ESTATE EVENT IS IN LA THIS WEEK!”19
                                                             10
                                                                         84.     The post featured multiple slides, including a slide that urged: “HELP
                                                             11
                                                             12 US ADVOCATE THE STOP OF HOMES BEING SOLD ON STOLEN
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                                                             13 PALESTINIAN LAND!”20
                                                             14
                                                                         85.     The call to assemble included the dates and addresses of two events—
                                                             15
                                                             16 one in North Hollywood on June 20 and the second at Adas Torah on June 23.
                                                                                                                                           21


                                                             17
                                                             18
                                                             19
                                                             20
                                                             21          17
                                                                             @PplsCityCouncil, X (June 20, 2024, 7:26 PM),
                                                                  https://x.com/PplsCityCouncil/status/1803932341875937685?ref_src=twsrc%5Etfw%7Ctwcam
                                                             22   p%5Etweetembed%7Ctwterm%5E1803932341875937685%7Ctwgr%5Ee52cce6315c004ed398
                                                                  fbd50753fe57fb520d5c2%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fforward.com%2Ffast-
                                                             23   forward%2F626491%2Fla-synagogue-adas-torah-protest-palestinians-israel%2F.
                                                                          18
                                                             24              A collaborative post is one that both accounts agree to have appear on their respective
                                                                  profiles. See HUBSPOT, How to Collab Post on Instagram as a Brand or Creator [Steps + Tips],
                                                             25   https://blog.hubspot.com/marketing/instagram-collab-post (last visited July 5, 2024).
                                                                          19
                                                                             CODEPINK Southeast Los Angeles (@codepinksela) & CODEPINK Los Angeles
                                                             26   (@codepinkla), INSTAGRAM, https://www.instagram.com/p/C8c6f8dyplb/?img_index=1 (last
                                                                  visited July 3, 2024).
                                                             27           20
                                                                             Id.
                                                             28           21
                                                                             Id.
                                                                                                                 17
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                                                              1         86.      The dates and addresses were placed inside inverted red triangles. 22
                                                              2
                                                                  See Exhibit A.
                                                              3
                                                              4         87.      Since October 7, 2023, Hamas and its supporters on social media have

                                                              5 used inverted red triangles as a symbol for Hamas and to celebrate its use of
                                                              6
                                                                  violence against Jews and Israelis.
                                                              7
                                                              8         88.      In other words, the inverted red triangle acts as a target designator to

                                                              9 identify Jews and Jewish targets for extermination.23
                                                             10
                                                                        89.      Also, on June 21, 2024, PYM posted a slide on its Instagram, calling
                                                             11
                                                             12 for members to show up at “12 PM SHARP” and declaring “OUR LAND IS NOT
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                                                             13 FOR SALE.”24
                                                             14
                                                                        90.      The slide continues: “STAND AGAINST SETTLER EXPANSION
                                                             15
                                                             16 AT SUNDAY’S REAL ESTATE EVENT SELLING HOMES TO BUILD
                                                             17 ‘ANGLO NEIGHBORHOODS’ IN PALESTINE.”25
                                                             18
                                                                        91.      The caption beneath the slide states: “Racist settler expansionists are
                                                             19
                                                             20 not welcome in Los Angeles! This blatant example of land theft is operating in our
                                                             21 own backyard. The Nakba[26] is ongoing and must be confronted!”
                                                             22
                                                             23
                                                                        22
                                                             24              Id.
                                                                        23
                                                                             https://extremismterms.adl.org/glossary/inverted-red-triangle
                                                             25           24
                                                                             PYM LA-OC-IE (@pymlaocie) & Palestinian Youth Movement
                                                             26   (@palestinianyouthmovement), INSTAGRAM,
                                                                  https://www.instagram.com/p/C8dActZyjiI/?igsh=d3o3eWw3OTZrZjhk (last visited July 3,
                                                             27   2024).
                                                                          25
                                                                             Id.
                                                             28         26
                                                                             PYM LA-OC-IE (@pymlaocie) & Palestinian Youth Movement
                                                                                                             18
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                                                              1          92.    It concludes: “FROM THE BELLY OF THE BEAST[.] NO
                                                              2
                                                                  JUSTICE, NO PEACE.”27
                                                              3
                                                              4          93.    Upon information and belief, the phrase “BELLY OF THE BEAST”

                                                              5 refers to a synagogue, a place where Jews congregate to pray.
                                                              6
                                                                                  Defendant Organizations Riot Outside Adas Torah.
                                                              7
                                                              8          94.    On Sunday, June 23, 2024, organized by Defendant Organizations and

                                                              9 others, more than two-hundred rioters (upon information and belief) descended to
                                                             10
                                                                  the streets surrounding Adas Torah.
                                                             11
                                                             12          95.    Chaos and violence ensued right after.
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                                                             13          96.    Specifically, the rioters drawn to Adas Torah by Defendant
                                                             14
                                                                  Organizations’ calls for action donned masks and signs; threw punches at
                                                             15
                                                             16 synagogue members and Jews who had arrived to provide support for their fellow
                                                             17 worshippers; and engaged in other acts of violence.
                                                             18
                                                                         97.    Some rioters were wearing Hamas’s green headbands, chanting
                                                             19
                                                             20 “Intifada,” and calling for indiscriminate violence against Jewish people.
                                                                                                                                           28


                                                             21
                                                             22
                                                             23
                                                                  (@palestinianyouthmovement), INSTAGRAM,
                                                             24 https://www.instagram.com/p/C8dActZyjiI/?igsh=d3o3eWw3OTZrZjhk (last visited July 3,
                                                                  2024). Nakba refers to the defeat of the Arab armies in the 1948 war for Israel’s independence
                                                             25 after the Arab armies invaded Israel. See Nakba, Jewish Virtual Library,
                                                                  https://www.jewishvirtuallibrary.org/nakba (last visited July 12, 2024).
                                                             26           27
                                                                             Id.
                                                             27           28
                                                                             Summer Lin et al., More Details Emerge On Protest Outside L.A. Synagogue,
                                                                  YAHOO! NEWS (June 27, 2024, 6:00 AM), https://au.news.yahoo.com/very-traumatic-medic-
                                                             28   describes-things-100038626.html.
                                                                                                                19
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                                                              1         98.     Some rioters arrived wearing ski goggles in preparation for the
                                                              2
                                                                  violence.29
                                                              3
                                                              4         99.     Footage of the violence quickly spread through social media.30

                                                              5         100. Scenes of blood on the streets, use of bear-spray, and the brandishing
                                                              6
                                                                  of make-shift weapons (including, among other things, a skateboard), permeated
                                                              7
                                                              8 cyberspace and were reported by dozens of news outlets.
                                                              9         101. About sixty police officers were called to the scene to stop the violent
                                                             10
                                                                  rioters, while many people were treated for their injuries.
                                                             11
                                                             12         102. While the riot was raging, worshippers, many of whom are members
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                                                             13 of SCLJ, were attempting to enter Adas Torah to attend one or several of the
                                                             14
                                                                  following: an afternoon prayer session or minyan, a Torah study session, and the
                                                             15
                                                             16 Aliyah Event.
                                                             17         103. SCLJ Member #1 was one of the worshippers who was prevented by
                                                             18
                                                                  the mob from exercising his constitutionally and statutorily protected free-exercise
                                                             19
                                                             20 rights to attend the Aliyah Event.
                                                             21         104. SCLJ Member #1 had preregistered to attend the Aliyah Event.
                                                             22
                                                             23
                                                             24
                                                             25         29
                                                                             Michael Starr, Anti-Israel Protestors Beat, Bear Mace Jews, Journalists At LA
                                                             26   Synagogue, JERUSALEM POST (June 24, 2024, 2:13 AM), https://www.jpost.com/breaking-
                                                                  news/article-807411.
                                                             27           30
                                                                             CODEPINK Southeast Los Angeles Chapter (@codepinksela), INSTAGRAM,
                                                                  https://www.instagram.com/reel/C8khglxyMw4/?utm_source=ig_web_copy_link&igsh=MzRlO
                                                             28   DBiNWFlZA== (last visited July 3, 2024).
                                                                                                            20
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                                                              1         105. SCLJ Member #1 managed to enter Adas Torah through an alleyway
                                                              2
                                                                  behind the building, where an armed security guard admitted him into the building.
                                                              3
                                                              4         106. SCLJ Member #1 learned of this secret entrance through a WhatsApp

                                                              5 group, though not all attendees of the June 23 events were on the group.
                                                              6
                                                                        107. SCLJ Member #2 was one of the worshippers who was initially
                                                              7
                                                              8 prevented by the mob from exercising her constitutionally and statutorily protected
                                                              9 free-exercise rights to attend both the Aliyah Event and an afternoon prayer
                                                             10
                                                                  service.
                                                             11
                                                             12         108. SCLJ Member #2 had preregistered to attend the Aliyah Event.
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                                                             13         109. SCLJ Member #2 managed to enter Adas Torah through an alleyway
                                                             14
                                                                  behind the building, where an armed security guard admitted her into the building.
                                                             15
                                                             16         110. SCLJ Member #2 learned of this secret entrance through a WhatsApp
                                                             17 group, though not all attendees of the June 23 events were on the group.
                                                             18
                                                                        111. SCLJ Member #2 did not find a prayer service available for her to
                                                             19
                                                             20 join.
                                                             21         112. SCLJ Member #3 was one of the worshippers who was initially
                                                             22
                                                                  prevented by the mob from exercising her constitutionally and statutorily protected
                                                             23
                                                             24 free-exercise rights to attend both the Aliyah Event and an afternoon prayer
                                                             25 service.
                                                             26
                                                                        113. SCLJ Member #3 had intended to attend the Aliyah Event with her
                                                             27
                                                             28 mother.
                                                                                                          21
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                                                              1           114. SCLJ Member #3 managed to enter Adas Torah synagogue through an
                                                              2
                                                                  alleyway behind the building, where an armed security guard admitted her into the
                                                              3
                                                              4 building.
                                                              5           115. SCLJ Member #3 learned of this secret entrance through a WhatsApp
                                                              6
                                                                  group, though not all attendees of the June 23 events were on the group.
                                                              7
                                                              8           116. SCLJ Member #3 did not find a prayer service available for her to

                                                              9 join.
                                                             10
                                                                          117. SCLJ Member #4 was one of the worshippers who was initially
                                                             11
                                                             12 prevented by the mob from exercising his constitutionally and statutorily protected
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                                                             13 free-exercise rights to attend the Aliyah Event and participate in an afternoon
                                                             14
                                                                  prayer service.
                                                             15
                                                             16           118. SCLJ Member #4 managed to enter Adas Torah through an alleyway
                                                             17 behind the building, where an armed security guard admitted him into the building.
                                                             18
                                                                          119. SCLJ Member #4 learned of this secret entrance through a WhatsApp
                                                             19
                                                             20 group, though not all attendees of the June 23 events were on the group.
                                                             21           120. SCLJ Member #4 did not find a prayer service available for him to
                                                             22
                                                                  join.
                                                             23
                                                             24           121. SCLJ Member #5 was one of the worshippers who initially was
                                                             25 prevented by the mob from exercising his constitutionally and statutorily protected
                                                             26
                                                                  free-exercise rights to attend the Aliyah Event and participate in an afternoon
                                                             27
                                                             28 prayer service.
                                                                                                           22
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                                                              1         122. SCLJ Member #5 had preregistered to attend the Aliyah Event.
                                                              2
                                                                        123. SCLJ Member #5 managed to enter Adas Torah through an alleyway
                                                              3
                                                              4 behind the building, where an armed security guard admitted him into the building.
                                                              5         124. SCLJ Member #5 learned of this secret entrance through a WhatsApp
                                                              6
                                                                  group, though not all attendees of the June 23 events were on the group.
                                                              7
                                                              8         125. SCLJ Member #5 did not find a prayer service available for him to

                                                              9 join.
                                                             10
                                                                        126. SCLJ Member #6 had attended morning prayer services at the Adas
                                                             11
                                                             12 Torah synagogue and remained inside the building.
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                                                             13         127. When the riot began, SCLJ Member #6 was attempting to study Torah
                                                             14
                                                                  but had trouble doing so because of the violent commotion outside the building, as
                                                             15
                                                             16 rioters blocked access to and from the synagogue, as well as blocked the sidewalks.
                                                             17         128. SCLJ Member #7 was one of the worshippers who was prevented
                                                             18
                                                                  entirely by the mob from exercising his constitutionally and statutorily protected
                                                             19
                                                             20 free-exercise rights to participate in an afternoon prayer service, the prayer service
                                                             21 he regularly attends at Adas Torah.
                                                             22
                                                                        129. SCLJ Member #7 was not a member of the aforementioned WhatsApp
                                                             23
                                                             24 group containing some attendees of Adas Torah, so he was unaware of the secret
                                                             25 entrance to Adas Torah.
                                                             26
                                                                        130. Therefore, SCLJ Member #7 was unable to attend an afternoon prayer
                                                             27
                                                             28 service at Adas Torah.
                                                                                                          23
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                                                              1          131. Though all three events continued at Adas Torah on July 23, 2024,
                                                              2
                                                                  upon information and belief, many regular members who either attend minyan or
                                                              3
                                                              4 study Torah at Adas Torah in the afternoon were entirely unable to do so, much like
                                                              5 SCLJ Member #7.
                                                              6
                                                                         132. Of those SCLJ Members who eventually were able to attend events at
                                                              7
                                                              8 Adas Torah, their initial attempts to attend the events were obstructed by rioters.
                                                              9          133. Furthermore, those SCLJ Members had to expose themselves to
                                                             10
                                                                  possible physical danger to attend their respective events.
                                                             11
                                                             12          134. On information and belief, the reason why the members who were
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                                                             13 able to enter the synagogue were nonetheless unable to find an available prayer
                                                             14
                                                                  service is because the prayer services were interrupted and obstructed by the mob.
                                                             15
                                                             16          135. The violence—and Defendant Organizations’ interference with
                                                             17 worshippers’ attempts to exercise their rights to worship at Adas Torah—was
                                                             18
                                                                  reported in real time.
                                                             19
                                                             20          136. The Wall Street Journal published an article titled: “Pro-Palestinian
                                                             21 Protesters Block Access to Los Angeles Synagogue in Violent Clash.”31
                                                             22
                                                             23
                                                             24
                                                             25
                                                             26
                                                             27          31
                                                                            Alyssa Lukpat, Pro-Palestinian Protesters Block Access to Los Angeles Synagogue in
                                                                  Violent Clash, WALL ST. J. (June 24, 2024, 5:48 PM), https://www.wsj.com/us-news/pro-
                                                             28   palestinian-protesters-block-access-to-los-angeles-synagogue-in-violent-clash-7d48098f.
                                                                                                               24
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                                                              1          137. KTLA 5 news station also reported that “[a]ccording to video posted
                                                              2
                                                                  to the Citizen app, pro-Palestinian protesters blocked the entrance to a
                                                              3
                                                              4 synagogue.”
                                                                           32


                                                              5          138. The next day, The Jerusalem Post published an article, titled, “Anti-
                                                              6
                                                                  Israel protesters beat, bear mace Jews, journalists at LA synagogue.”33
                                                              7
                                                              8          139. Meanwhile, Defendant Organizations crafted their own narrative

                                                              9 surrounding the riot, denying that their rioters were violent and rejecting the notion
                                                             10
                                                                  that any congregants were blocked from accessing the synagogue.
                                                             11
                                                             12          140. On the day of the riot, CodePink’s Southeast Los Angeles chapter
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                                                             13 posted on its Instagram account a video from the riot, confirming its presence
                                                             14
                                                                  outside the synagogue.34
                                                             15
                                                             16          141. The same day, CodePink’s Southeast Los Angeles chapter, in
                                                             17 collaboration with the CodePink’s Los Angeles chapter and CodePink’s national
                                                             18
                                                                  organization, posted more footage from the riot, including another slide featuring a
                                                             19
                                                             20 giant inverted red triangle with the address of Adas Torah inside it.
                                                                                                                                      35


                                                             21
                                                             22          32
                                                                             Austin Turner & Josh DuBose, Pro-Palestinian And Pro-Israeli Demonstrators Clash
                                                                  Outside Synagogue In Los Angeles, KTLA 5, (June 23, 2024, 2:34 PM),
                                                             23   https://ktla.com/news/local-news/protesters-allegedly-block-entrance-to-synagogue-in-los-
                                                                  angeles/.
                                                             24           33
                                                                             Michael Starr & Jerusalem Post Staff, Anti-Israel protesters beat, bear mace Jews,
                                                             25   journalists at LA synagogue, JERUSALEM POST (June 24, 2024).
                                                                          34
                                                                             CODEPINK Southeast Los Angeles Chapter (@codepinksela), INSTAGRAM,
                                                             26   https://www.instagram.com/reel/C8khglxyMw4/?utm_source=ig_web_copy_link&igsh=MzRlO
                                                                  DBiNWFlZA== (last visited July 3, 2024).
                                                             27           35
                                                                             CODEPINK Southeast Los Angeles Chapter (@codepinksela) & CODEPINK Alert
                                                             28   (@codepinkalert), INSTAGRAM,
                                                                  https://www.instagram.com/p/C8lLvLIJu9h/?utm_source=ig_web_copy_link&igsh=MzRlODBi
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                                                              1         142. The photograph was captioned, in part: “Our comrades witnessed
                                                              2
                                                                  nothing out of the ordinary: madness, chaos, agitation, provoking and the use of
                                                              3
                                                              4 physical force by the zi0nist [sic] community and LAPD.”
                                                                                                                         36


                                                              5         143. In a public statement issued on June 24, 2024, CodePink
                                                              6
                                                                  acknowledged that its organizers and members attended the riot that blocked the
                                                              7
                                                              8 entrance to the synagogue: “While our comrades were physically assaulted,
                                                              9 pepper/bear sprayed, and attacked as they walked back to their cars, LAPD did
                                                             10
                                                                  nothing to keep us safe but rather pushed and used their combat toys to add to
                                                             11
                                                             12 injury.”
                                                                        37
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                                                             13         144. The statement continued: “[S]hame on LA for allowing the hosting of
                                                             14
                                                                  these types of events that promote illegal sales of Palestinian territory and
                                                             15
                                                             16 homes!”
                                                                       38


                                                             17         145. Indeed, CodePink’s website states: “CODEPINK recognizes
                                                             18
                                                                  Palestinians as the rightful owners and caretakers of Palestine, their indigenous
                                                             19
                                                             20 homeland,” and “[w]e support Palestinians’ right to resist the violent Israeli
                                                             21 occupation of Palestine.”39
                                                             22
                                                             23
                                                             24 NWFlZA%3D%3D&img_index=2 (last visited July 3, 2024).
                                                                        36
                                                                             Id.
                                                             25           37
                                                                             CODEPINK Los Angeles Chapter (@codepinkla) & CODEPINK Southeast Los
                                                             26   Angeles Chapter (@codepinksela), INSTAGRAM,
                                                                  https://www.instagram.com/p/C8nHwetSMQR/?utm_source=ig_web_copy_link&igsh=MzRlO
                                                             27   DBiNWFlZA%3D%3D&img_index=1 (last visited July 3, 2024).
                                                                          38
                                                                             Id.
                                                             28         39
                                                                             CODEPINK- JUSTICE FOR PALESTINE, https://www.codepink.org/palestine (last visited
                                                                                                                26
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                                                              1         146. CodePink’s website further emphasizes that “[w]e must express our
                                                              2
                                                                  outrage.”40
                                                              3
                                                              4         147. On Monday, June 24, 2024, CodePink’s national organization, in

                                                              5 collaboration with CodePink’s Southeast Los Angeles chapter, posted on its
                                                              6
                                                                  Instagram a slide stating that “there was a peaceful protest against the illegal sale
                                                              7
                                                              8 of stolen land in Palestine in a synagogue. Zionists attacked peaceful protestors,
                                                              9 stole their phones, and LAPD watched on and helped.”41
                                                             10
                                                                        148. Beneath the slide was a longer caption stating that “[n]o religious
                                                             11
                                                             12 services were scheduled at the time of the real estate sale . . . . Contrary to what the
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                                                             13 media is falsely reporting, the entrance was never blocked by anyone.”42
                                                             14
                                                                        149. Both statements by CodePink are false: there were religious services
                                                             15
                                                             16 scheduled at Adas Torah the time of the riot instigated by CodePink, the Aliyah
                                                             17 Event itself was also religious in nature, and the rioters organized by Defendant
                                                             18
                                                                  Organizations did block the entrance to Adas Torah.
                                                             19
                                                             20
                                                             21
                                                             22
                                                             23
                                                             24
                                                                  July 3, 2024).
                                                             25           40
                                                                             Id.
                                                                          41
                                                             26              CODEPINK Alert (@codepinkalert) & CODEPINK Southeast Los Angeles Chapter
                                                                  (@codepinksela), INSTAGRAM,
                                                             27   https://www.instagram.com/p/C8nDkh3y06J/?utm_source=ig_web_copy_link&igsh=MzRlOD
                                                                  BiNWFlZA== (last visited July 3, 2024).
                                                             28           42
                                                                             Id.
                                                                                                            27
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                                                              1         150. Despite their demonstrable falsity, similar statements were posted on
                                                              2
                                                                  the Instagram accounts of CodePink’s Los Angeles and Southeast Los Angeles
                                                              3
                                                              4 chapters.
                                                                         43


                                                              5         151. On Tuesday, June 25, 2024, CodePink’s Southeast Los Angeles
                                                              6
                                                                  chapter posted a video of a press conference with multiple speakers.
                                                              7
                                                              8         152. The first speaker—whose name is not provided—stated that the “Adas

                                                              9 Torah synagogue is complicit in war crimes through its hosting of this event.” 44
                                                             10
                                                                        153. She added: “The attendees of this illegal sale event and the LAPD
                                                             11
                                                             12 unleashed violence on protesters for daring to challenge the illegal sale of
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                                                             13 Palestinian land.”45
                                                             14
                                                                        154. She finishes by assuring that: “[w]e will continue to challenge the sale
                                                             15
                                                             16 of stolen Palestinian land in North American cities, no matter where these events
                                                             17 take place.”46
                                                             18
                                                                        155. The next day, CodePink’s Southeast Los Angeles chapter posted a
                                                             19
                                                             20 single slide stating: “FUCK ISRAEL.”
                                                                                                     47


                                                             21
                                                             22
                                                                        43
                                                                             CODEPINK Southeast Los Angeles Chapter (@codepinksela), INSTAGRAM,
                                                             23 https://www.instagram.com/p/C8nHwetSMQR/?igsh=OWRmNXN3NW80Yzli, (last visited
                                                                  July 5, 2024).
                                                             24           44
                                                                             CODEPINK Southeast Los Angeles Chapter (@codepinksela), INSTAGRAM,
                                                             25   https://www.instagram.com/reel/C8p9LjVSX72/?igsh=ZjRlZHhmY2N2eTI4 (last visited July
                                                                  5, 2024).
                                                             26         45
                                                                             Id.
                                                             27         46
                                                                             Id.
                                                                          47
                                                             28              CODEPINK Southeast Los Angeles Chapter (@codepinksela), INSTAGRAM,
                                                                  https://www.instagram.com/p/C8sWnHZy_R9/?utm_source=ig_web_copy_link&igsh=MzRlO
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                                                              1              Defendant Organizations’ Riot is Universally Censured.
                                                              2
                                                                        156. The riot outside of Adas Torah synagogue has been roundly
                                                              3
                                                              4 condemned across the political spectrum.
                                                              5         157. Los Angeles Mayor Karen Bass released a statement on the day of the
                                                              6
                                                                  riot: “Today’s violence in the Pico-Robertson neighborhood was abhorrent, and
                                                              7
                                                              8 blocking access to a place of worship is unacceptable . . . . I want to be clear that
                                                              9 Los Angeles will not be a harbor for antisemitism and violence. Those responsible
                                                             10
                                                                  for either will be found and held accountable.”48
                                                             11
                                                             12         158. Similarly, President Joe Biden denounced the violent rioters the day-
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                                                             13 of: “I’m appalled by the scenes outside of Adas Torah synagogue in Los Angeles.
                                                             14
                                                                  Intimidating Jewish congregants is dangerous, unconscionable, antisemitic, and un-
                                                             15
                                                             16 American. Americans have a right to peaceful protest. But blocking access to a
                                                             17 house of worship—and engaging in violence—is never acceptable.”49
                                                             18
                                                                        159. And California Governor Gavin Newsom stated that “[t]he violent
                                                             19
                                                             20 clashes outside Adas Torah in Los Angeles are appalling. There is no excuse for
                                                             21 targeting a house of worship. Such antisemitic hatred has no place in California.”50
                                                             22
                                                             23
                                                             24
                                                                  DBiNWFlZA== (last visited July 3, 2024).
                                                             25           48
                                                                             @MayorOfLA, X (June 24, 2024, 1:27 AM),
                                                                  https://x.com/MayorOfLA/status/1805110392806642141.
                                                             26           49
                                                                             @POTUS, X (June 24, 2024, 10:56 AM),
                                                             27   https://x.com/POTUS/status/1805253626551497103?ref_src=twsrc%5Etfw.
                                                                          50
                                                                             @CAgovernor, X (June 24, 2024, 1:16 AM),
                                                             28   https://x.com/CAgovernor/status/1805107636368810029.
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                                                              1                             FIRST CAUSE OF ACTION
                                                              2    Threatening and Intimidating Persons in Violation of 18 U.S.C. § 248(a)(2)
                                                              3                          (SCLJ v. Defendant Organizations)
                                                              4           (Interference with Daily Minyanim and Torah Study Sessions)
                                                              5         160. Plaintiff repeats, realleges, and incorporates by reference the
                                                              6
                                                                  allegations set forth in paragraphs 1 through 159 of this Complaint.
                                                              7
                                                              8         161. The FACE Act imposes civil and criminal penalties on any person

                                                              9 who “by force or threat of force or by physical obstruction, intentionally injures,
                                                             10
                                                                  intimidates or interferes with or attempts to injure, intimidate or interfere with any
                                                             11
                                                             12 person lawfully exercising or seeking to exercise the First Amendment right of
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                                                             13 religious freedom at a place of religious worship.” 18 U.S.C. § 248(a)(2).
                                                             14
                                                                        162. The FACE Act permits an action to be brought “by [any] person
                                                             15
                                                             16 lawfully exercising or seeking to exercise the First Amendment right of religious
                                                             17 freedom at a place of religious worship or by the entity that owns or operates such
                                                             18
                                                                  place of religious worship.” Id § 248(c)(1)(A).
                                                             19
                                                             20         163. Adas Torah is a place of religious worship for purposes of the FACE
                                                             21 Act. Id. § 248(a)(2).
                                                             22
                                                                        164. The daily minyanim and Torah study sessions described above
                                                             23
                                                             24 indisputably involve the “exercise [of] the First Amendment right of religious
                                                             25 freedom at a place of religious worship.” Id.
                                                             26
                                                                        165. On June 23, 2024, members of SCLJ were “seeking to exercise the
                                                             27
                                                             28 First Amendment right of religious freedom at a place of religious worship,”
                                                                                                           30
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                                                              1 namely Adas Torah, but members of Defendant Organizations either forcefully
                                                              2
                                                                  prevented them from doing so or attempted to forcefully prevent them from doing
                                                              3
                                                              4 so. See id.
                                                              5         166. Defendant Organizations, “[b]y force,” “threat of force, or physical
                                                              6
                                                                  obstruction,” “intentionally injure[d], intimidate[d], interfere[d] with,” and
                                                              7
                                                              8 “attempt[ed] to injure, intimidate, [and] interfere with” the worship services being
                                                              9 held at Adas Torah on June 23, 2024.
                                                             10
                                                                        167. Each of Defendant Organizations helped plan, organize, advertise, and
                                                             11
                                                             12 fund the violent mob that threatened and intimidated the individuals lawfully
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                                                             13 exercising or seeking to exercise their First Amendment right of religious freedom
                                                             14
                                                                  at Adas Torah.
                                                             15
                                                             16         168. The mob organized by Defendant Organizations—at a minimum,
                                                             17 through their social media blitz—also employed nonviolent tactics to prevent
                                                             18
                                                                  members of SCLJ from exercising their First Amendment right of religious
                                                             19
                                                             20 freedom at Adas Torah synagogue.
                                                             21         169. Members of Defendant Organizations participated in the violence that
                                                             22
                                                                  prevented congregants from accessing Adas Torah.
                                                             23
                                                             24         170. Other rioters were encouraged by Defendant Organizations to take
                                                             25 part in the violence that prevented congregants from accessing Adas Torah.
                                                             26
                                                                        171. Defendant Organizations’ actions violated the FACE Act.
                                                             27
                                                             28         172. Defendant Organizations’ actions harmed members of SCLJ.
                                                                                                           31
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                                                              1         173. On behalf of its members who attempted to attend the minyanim and
                                                              2
                                                                  Torah study sessions, SCLJ seeks from Defendant Organizations, jointly and
                                                              3
                                                              4 severally, $5,000 per violation committed by Defendant Organizations’ members or
                                                              5 actual damages, whichever is greater.
                                                              6
                                                                        174. As a result, SCLJ estimates statutory damages on behalf of these
                                                              7
                                                              8 members under the FACE ACT total at least $1,000,000.
                                                              9         175. SCLJ also seeks temporary, preliminary, and permanent injunctive
                                                             10
                                                                  relief; punitive damages; and the costs of this suit and reasonable fees for attorneys
                                                             11
                                                             12 and expert witnesses.
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                                                             13                            SECOND CAUSE OF ACTION
                                                             14   Threatening and Intimidating Persons in Violation of Cal. Pen. Code § 423.2
                                                             15                          (SCLJ v. Defendant Organizations)
                                                             16        (Interference with Daily Minyanim and Daily Torah Study Sessions)
                                                             17         176. Plaintiff repeats, realleges, and incorporates by reference the
                                                             18
                                                                  allegations set forth in paragraphs 1 through 159 of this Complaint.
                                                             19
                                                             20         177. The California FACE Act, Cal. Pen. Code § 423.2, provides that
                                                             21 “[e]very person who . . . [b]y force, threat of force, or physical obstruction that is a
                                                             22
                                                                  crime of violence, intentionally injures, intimidates, interferes with, or attempts to
                                                             23
                                                             24 injure, intimidate, or interfere with a person lawfully exercising or seeking to
                                                             25 exercise the First Amendment right of religious freedom at a place of religious
                                                             26
                                                                  worship,” can be held civilly liable. Cal. Pen. Code § 423.2(b).
                                                             27
                                                             28
                                                                                                            32
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                                                              1         178. Section 423.4 provides that “[a] person aggrieved by a violation of”
                                                              2
                                                                  the California FACE Act “may bring a civil action to enjoin the violation, for
                                                              3
                                                              4 compensatory and punitive damages, and for the costs of suit and reasonable fees
                                                              5 for attorneys and expert witnesses,” so long as the plaintiff is either a person
                                                              6
                                                                  “lawfully exercising or seeking to exercise the First Amendment right of religious
                                                              7
                                                              8 freedom in a place of religious worship, or the entity that owns or operates a place
                                                              9 of religious worship.” Id. § 423.4(a).
                                                             10
                                                                        179. And “[w]ith respect to compensatory damages, the plaintiff may elect,
                                                             11
                                                             12 at any time prior to the rendering of a final judgment, to recover, in lieu of actual
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                                                             13 damages, an award of statutory damages in the amount of one thousand dollars
                                                             14
                                                                  ($1,000) per exclusively nonviolent violation, and five thousand dollars ($5,000)
                                                             15
                                                             16 per any other violation, for each violation committed.” Id.
                                                             17         180. Finally, “[e]very person who . . . [i]ntentionally damages or destroys
                                                             18
                                                                  the property of a place of religious worship,” can be held civilly liable. Id.
                                                             19
                                                             20 § 423.2(f).
                                                             21         181. Adas Torah is a place of religious worship for purposes of the
                                                             22
                                                                  California FACE Act. Id. § 423.2(b).
                                                             23
                                                             24         182. The daily minyanim and Torah study sessions described above
                                                             25 indisputably involve the “exercise [of] the First Amendment right of religious
                                                             26
                                                                  freedom at a place of religious worship.” Id.
                                                             27
                                                             28
                                                                                                            33
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                                                              1         183. On June 23, 2024, members of SCLJ were “seeking to exercise the
                                                              2
                                                                  First Amendment right of religious freedom at a place of religious worship,”
                                                              3
                                                              4 namely Adas Torah, but members of Defendant Organizations either forcefully
                                                              5 prevented them from doing so or attempted to forcefully prevent them from doing
                                                              6
                                                                  so. See id.
                                                              7
                                                              8         184. Defendant Organizations, “[b]y force, threat of force, or physical

                                                              9 obstruction,” “intentional[ly] injure[d], intimidate[d], interfere[d] with,” and
                                                             10
                                                                  “attempt[ed] to injure, intimidate, or interfere with” the worship services being
                                                             11
                                                             12 held at Adas Torah on June 23, 2024. See id. § 423.2(b).
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                                                             13         185. Each of Defendant Organizations helped plan, organize, advertise, and
                                                             14
                                                                  fund the violent mob that threatened and intimidated the individuals lawfully
                                                             15
                                                             16 exercising or seeking to exercise their First Amendment right of religious freedom
                                                             17 at Adas Torah.
                                                             18
                                                                        186. The mob organized by Defendant Organizations also employed
                                                             19
                                                             20 nonviolent tactics—at a minimum, through their social media blitz—to prevent
                                                             21 members of SCLJ from exercising their First Amendment right of religious
                                                             22
                                                                  freedom at Adas Torah.
                                                             23
                                                             24         187. Members of each of Defendant Organizations, upon receiving
                                                             25 encouragement from Defendant Organizations, participated in the violence that
                                                             26
                                                                  prevented congregants from accessing Adas Torah.
                                                             27
                                                             28         188. Defendant Organizations’ actions violated the California FACE Act.
                                                                                                           34
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                                                              1         189. Defendant Organizations’ actions harmed members of SCLJ.
                                                              2
                                                                        190. On behalf of its members who attempted to attend the minyanim and
                                                              3
                                                              4 Torah study sessions, SCLJ seeks from Defendant Organizations, jointly and
                                                              5 severally, $5,000 per violation committed by Defendant Organizations’ members
                                                              6
                                                                  and $1,000 per nonviolent violation committed by Defendant Organizations’
                                                              7
                                                              8 members or actual damages, whichever is greater.
                                                              9         191. As a result, SCLJ estimates statutory damages on behalf of these
                                                             10
                                                                  members under the California FACE Act total at least $1,000,000.
                                                             11
                                                             12         192. SCLJ also seeks temporary, preliminary, or permanent injunctive
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                                                             13 relief; punitive damages; and the costs of this suit and reasonable fees for attorneys
                                                             14
                                                                  and expert witnesses.
                                                             15
                                                             16                             THIRD CAUSE OF ACTION
                                                             17    Threatening and Intimidating Persons in Violation of 18 U.S.C. § 248(a)(2)
                                                             18                           (SCLJ v. Defendant Organizations)
                                                             19                            (Interference with Aliyah Event)
                                                             20         193. Plaintiff repeats, realleges, and incorporates by reference the
                                                             21 allegations set forth in paragraphs 1 through 159 of this Complaint.
                                                             22
                                                                        194. The FACE Act subjects to civil and criminal penalties any person who
                                                             23
                                                             24 “by force or threat of force or by physical obstruction, intentionally injures,
                                                             25 intimidates or interferes with or attempts to injure, intimidate or interfere with any
                                                             26
                                                                  person lawfully exercising or seeking to exercise the First Amendment right of
                                                             27
                                                             28 religious freedom at a place of religious worship.” 18 U.S.C. § 248(a)(2).
                                                                                                          35
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                                                              1         195. The FACE Act permits an action to be brought under
                                                              2
                                                                  Section 248(a)(2) “by a person lawfully exercising or seeking to exercise the First
                                                              3
                                                              4 Amendment right of religious freedom at a place of religious worship or by the
                                                              5 entity that owns or operates such place of religious worship.” Id § 248(c)(1)(A).
                                                              6
                                                                        196. Adas Torah is an entity that “owns or operates” a place of worship for
                                                              7
                                                              8 purposes of the FACE Act. Id. § 248(c)(1)(A).
                                                              9         197. Many in the Jewish community, including members of SCLJ, believe
                                                             10
                                                                  that their faith includes a mitzvah to buy land in Israel and dwell there.51
                                                             11
                                                             12         198. The Aliyah Event was scheduled to provide an opportunity for the
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                                                             13 Adas Torah congregants to satisfy this mitzvah.
                                                             14
                                                                        199. The Aliyah Event was an inherently religious activity for many Jewish
                                                             15
                                                             16 people, including, for example, members of SCLJ.
                                                             17         200. For these reasons, attendance at the Aliyah Event constitutes the
                                                             18
                                                                  “exercise [of] the First Amendment right of religious freedom at a place of
                                                             19
                                                             20 religious worship.” Id.
                                                             21         201. Therefore, on June 23, 2024, members of SCLJ were “seeking to
                                                             22
                                                                  exercise the First Amendment right of religious freedom at a place of religious
                                                             23
                                                             24 worship,” namely Adas Torah, but members of Defendant Organizations either
                                                             25
                                                             26
                                                             27
                                                             28         51
                                                                             See supra note 14; see also supra ¶¶ 66-74.
                                                                                                                 36
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                                                              1 forcefully prevented them from doing so or attempted to forcefully prevent them
                                                              2
                                                                  from doing so. See id.
                                                              3
                                                              4         202. Defendant Organizations, “[b]y force,” “threat of force, or physical

                                                              5 obstruction,” “intentionally injure[d], intimidate[d], interfere[d] with,” and
                                                              6
                                                                  “attempt[ed] to injure, intimidate, or interfere with” the worship services being
                                                              7
                                                              8 held at Adas Torah on June 23, 2024. See 18 U.S.C. § 248(a)(2).
                                                              9         203. Each of Defendant Organizations helped plan, organize, advertise, and
                                                             10
                                                                  fund the violent mob that threatened and intimidated the individuals lawfully
                                                             11
                                                             12 exercising or seeking to exercise the First Amendment right of religious freedom at
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                                                             13 Adas Torah.
                                                             14
                                                                        204. The mob organized by Defendant Organizations also employed
                                                             15
                                                             16 nonviolent tactics—at a minimum, through their social media blitz—to prevent
                                                             17 members of SCLJ from exercising their First Amendment right of religious
                                                             18
                                                                  freedom at Adas Torah.
                                                             19
                                                             20         205. Members of each of Defendant Organizations, upon receiving
                                                             21 encouragement from Defendant Organizations, participated in the violence that
                                                             22
                                                                  prevented congregants from accessing Adas Torah.
                                                             23
                                                             24         206. Defendant Organizations’ actions violated the FACE Act.
                                                             25         207. Defendant Organizations’ actions harmed members of SCLJ.
                                                             26
                                                                        208. On behalf of its members who attempted to attend the housing event,
                                                             27
                                                             28 SCLJ seeks from Defendant Organizations, jointly and severally, $5,000 per
                                                                                                           37
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                                                              1 violation committed by Defendant Organizations’ members or actual damages,
                                                              2
                                                                  whichever is greater.
                                                              3
                                                              4         209. As a result, SCLJ estimates statutory damages on behalf of these

                                                              5 SCLJ members under the FACE ACT total at least $1,000,000.
                                                              6
                                                                        210. SCLJ also seeks temporary, preliminary, or permanent injunctive
                                                              7
                                                              8 relief; punitive damages; and the costs of this suit and reasonable fees for attorneys
                                                              9 and expert witnesses.
                                                             10
                                                                                           FOURTH CAUSE OF ACTION
                                                             11
                                                                   Threatening and Intimidating Persons in Violation of 18 U.S.C. § 248(a)(2)
                                                             12
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                                                                                          (SCLJ v. Defendant Organizations)
                                                             13
                                                                                           (Interference with Aliyah Event)
                                                             14
                                                             15         211. Plaintiff repeats, realleges, and incorporates by reference the

                                                             16 allegations set forth in paragraphs 1 through 159 of this Complaint.
                                                             17
                                                                        212. The California FACE Act, Cal. Pen. Code § 423.2, provides that
                                                             18
                                                             19 “[e]very person who . . . [b]y force, threat of force, or physical obstruction that is a
                                                             20 crime of violence, intentionally injures, intimidates, interferes with, or attempts to
                                                             21
                                                                  injure, intimidate, or interfere with a person lawfully exercising or seeking to
                                                             22
                                                             23 exercise the First Amendment right of religious freedom at a place of religious
                                                             24 worship,” can be held civilly liable. Cal. Pen. Code § 423.2(b).
                                                             25
                                                                        213. Section 423.4 provides that “[a] person aggrieved by a violation of”
                                                             26
                                                             27 the California FACE Act “may bring a civil action to enjoin the violation, for
                                                             28 compensatory and punitive damages, and for the costs of suit and reasonable fees
                                                                                                           38
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                                                              1 for attorneys and expert witnesses,” so long as the plaintiff is either a person
                                                              2
                                                                  “lawfully exercising or seeking to exercise the First Amendment right of religious
                                                              3
                                                              4 freedom in a place of religious worship, or the entity that owns or operates a place
                                                              5 of religious worship.” Id. § 423.4(a).
                                                              6
                                                                        214. And “[w]ith respect to compensatory damages, the plaintiff may elect,
                                                              7
                                                              8 at any time prior to the rendering of a final judgment, to recover, in lieu of actual
                                                              9 damages, an award of statutory damages in the amount of one thousand dollars
                                                             10
                                                                  ($1,000) per exclusively nonviolent violation, and five thousand dollars ($5,000)
                                                             11
                                                             12 per any other violation, for each violation committed.” Id.
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                                                             13         215. Finally, “[e]very person who . . . [i]ntentionally damages or destroys
                                                             14
                                                                  the property of a place of religious worship,” can be held civilly liable. Id.
                                                             15
                                                             16 § 423.2(f).
                                                             17         216. Adas Torah is a place of religious worship for purposes of the
                                                             18
                                                                  California FACE Act. Id. § 423.2(b).
                                                             19
                                                             20         217. Many in the Jewish community, including members of SCLJ, believe
                                                             21 that their faith includes a mitzvah to buy land in Israel and dwell there.52
                                                             22
                                                                        218. The Aliyah Event was scheduled to provide an opportunity for the
                                                             23
                                                             24 Adas Torah congregants to satisfy this mitzvah.
                                                             25
                                                             26
                                                             27
                                                             28         52
                                                                             Id.
                                                                                                            39
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                                                              1         219. The Aliyah Event was an inherently religious activity for many Jewish
                                                              2
                                                                  people, including, for example, members of SCLJ.
                                                              3
                                                              4         220. For these reasons, attendance at the Aliyah Event constitutes the

                                                              5 “exercise [of] the First Amendment right of religious freedom at a place of
                                                              6
                                                                  religious worship.” Id.
                                                              7
                                                              8         221. Therefore, on June 23, 2024, members of SCLJ were “seeking to

                                                              9 exercise the First Amendment right of religious freedom at a place of religious
                                                             10
                                                                  worship,” namely Adas Torah, but rioters either forcefully prevented them from
                                                             11
                                                             12 doing so or attempted to forcefully prevent them from doing so. See id.
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                                                             13         222. Defendant Organizations, “[b]y force, threat of force, or physical
                                                             14
                                                                  obstruction,” “intentional[ly] injure[d], intimidate[d], interfere[d] with,” and
                                                             15
                                                             16 “attempt[ed] to injure, intimidate, or interfere with” the worship services being
                                                             17 held at Adas Torah synagogue on June 23, 2024. See id. § 423.2(b).
                                                             18
                                                                        223. Each of Defendant Organizations helped plan, organize, advertise, and
                                                             19
                                                             20 fund the violent mob that threatened and intimidated the individuals lawfully
                                                             21 exercising or seeking to exercise their First Amendment right of religious freedom
                                                             22
                                                                  at Adas Torah.
                                                             23
                                                             24         224. The mob organized by Defendant Organizations also employed
                                                             25 nonviolent tactics—at a minimum, through their social media blitz—to prevent
                                                             26
                                                                  members of SCLJ from exercising their First Amendment right of religious
                                                             27
                                                             28 freedom at Adas Torah.
                                                                                                            40
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                                                              1         225. Members of each of Defendant Organizations, upon receiving
                                                              2
                                                                  encouragement from Defendant Organizations, participated in the violence that
                                                              3
                                                              4 prevented congregants from accessing Adas Torah.
                                                              5         226. Defendant Organizations’ actions violated the California FACE Act.
                                                              6
                                                                        227. Defendant Organizations’ actions harmed SCLJ.
                                                              7
                                                              8         228. On behalf of its members who attempted to attend the housing event,

                                                              9 SCLJ seeks from Defendant Organizations, jointly and severally, $5,000 per
                                                             10
                                                                  violation committed by Defendant Organizations’ members and $1,000 per
                                                             11
                                                             12 nonviolent violation committed by Defendant Organizations’ members or actual
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                                                             13 damages, whichever is greater.
                                                             14
                                                                        229. As a result, SCLJ estimates statutory damages on behalf of these
                                                             15
                                                             16 members under the California FACE Act total at least $1,000,000.
                                                             17         230. SCLJ also seeks temporary, preliminary, or permanent injunctive
                                                             18
                                                                  relief; punitive damages; and the costs of suit and reasonable fees for attorneys and
                                                             19
                                                             20 expert witnesses.
                                                             21                               PRAYER FOR RELIEF
                                                             22
                                                                        WHEREFORE, Plaintiff respectfully requests that this Court enter
                                                             23
                                                             24 judgment in its favor and against Defendant Organizations, as follows:
                                                             25         1.     Enter judgment against Defendant Organizations, jointly and
                                                             26
                                                                  severally, in the amount of the following: $5,000 for each violation of the FACE
                                                             27
                                                             28 ACT; $5,000 for each violent violation of the California FACE Act; and $1,000 for
                                                                                                           41
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                                                              1 each nonviolent of the California FACE Act by each member of Defendant
                                                              2
                                                                  Organizations or actual damages, whichever is greater;
                                                              3
                                                              4         2.     Award SCLJ an appropriate punitive-damages award;

                                                              5         3.     Award SCLJ its reasonable costs and expenses, including attorney
                                                              6
                                                                  fees, incurred in this action as authorized by 18 U.S.C. § 248(c)(1)(B) and Cal Pen
                                                              7
                                                              8 Code § 423.2;
                                                              9         4.     Enjoin Defendant Organizations and their members from going within
                                                             10
                                                                  one-hundred feet of Adas Torah; and
                                                             11
                                                             12         5.     Award such other relief as the Court deems equitable and just.
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                                                             13                             DEMAND FOR JURY TRIAL
                                                             14         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
                                                             15
                                                                  respectfully demands a trial by jury of all issues triable by jury.
                                                             16
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                                                              1       Respectfully submitted this 24th day of July, 2024.
                                                              2
                                                                                                       GIPSON HOFFMAN PANCIONE
                                                              3                                        A Professional Corporation
                                                              4
                                                              5
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